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             IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION




UNITED STATES OF AMERICA,                                                   c:


                                                                         >o
V.                                            Case No.    CR41fl^3^4£9


DAVID GOTTSCHALK,


                 Defendant                                               rcilr



UNITED STATES OF AMERICA,


V.                                            Case No.    CR417-46


OMMIE CHRISTIAN,


                 Defendant




                               ORDER


      Amit M. Navare, counsel of record for defendants in the above-

styled cases, has moved for leave of absence.        The Court is mindful

that personal and professional obligations require the absence of

counsel on occasion. The Court, however, cannot accommodate its

schedule to the thousands of attorneys who practice within the

Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall
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